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                                       UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF TENNESSEE

In Re: LaTasha Chanta Tennial                                               Chapter 13
                                                                            Case No.
Debtor.


                                                      Chapter 13 Plan


Address:          Debtor 4573 Fawn Hollow, Memphis, TN 38141

Plan Payment:

Debtor Shall Pay: $243.00 Monthly         By:     (X) Direct Pay Social Security
   Or by: ( ) Payroll Deduction

1. This Plan [Rule 3015.1 Notice]:
     (A) Contains a Non-standard Provision [See provision 19].                                                (X) Yes1 ( )   No
     (B) Limits the Amount of a Secured Claim Based on a Valuation of the Collateral for the Claim (X) Yes2 ( )              No
         [See provisions 7 and 8].
     (C) Avoids a Security Interest or Lien. [See provision 12].                                              ( ) Yes3 (X) No

2. Administrative Expenses: Pay Filing Fee and Debtor Attorney's Fee Pursuant to Confirmation Order.

3. Auto Insurance:       ( ) Included in Plan     Or (X) Not Included in Plan if proof provided by Debtor

4. Domestic Support Paid By: ( ) Debtor Directly ( ) Wage Assignment             ( ) Trustee To:                   Monthly Pmt.
                                   ongoing payment begins
                                        Approximate arrearage
                                        ongoing payment begins
                                        Approximate arrearage
5. Priority Claims:                                                                                                Monthly Pmt.
                                                                        Amount
                                                                        Amount

6. Home Mortgage Claims:         (X) Paid Directly by Debtor or ( ) Paid by Trustee To:                            Monthly Pmt.
    Carrington (notice only)           ongoing payment begins
                                        Approximate arrearage                          Interest
                                        ongoing payment begins
                                        Approximate arrearage                          Interest

7. Secured Claims [Retain Lien 11 U.S.C. §1325 (a)(5)]:             Collateral Value              Interest Rate   Monthly Pmnt.
@1 Nissan Motors (2010 Nissan Maxima)                           $            7,071.00                   0.00%          $142.00
@2
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8. Secured Automobile Claims for Debt Incurred Within 910 Days of Filing, and Other Secured Claims for Debt
   Incurred Within One Year of Filing [Retain Lien 11 U.S.C. §1325 (a)(5)]:
                                                                   Collateral Value          Interest Rate    Monthly Pmnt.
@3
@4

9. Secured Claims for Which Collateral Will Be Surrendered; Stay Is Terminated Upon Confirmation for the Limited
   Purpose of Gaining Possession and Commercially Reasonable Disposal of Collateral:
                                    Collateral
                                        Collateral

10. Special Class Unsecured Claims:                                Collateral Value         Interest Rate     Monthly Pmnt.




11. Student Loan Claims and Other Long Term Claims:
                                                            ( ) Not Provided For         ( ) General Unsecured Creditor
                                                            ( ) Not Provided For         ( ) General Unsecured Creditor

12. The Judicial Liens or Non-possessory, Non-purchase Money Security Interests Held by the Following Creditors Are
    Avoided to the Extent Allowable Pursuant to 11 U.S.C. §522(f):
@5

13. Absent a Specific Court Order Otherwise, All Timely Filed Claims, Other than Those Specifically Provided for
    Above, Shall Be Paid as General Unsecured Claims.

14. Estimated Total General Unsecured Claims:                 .

15. The Percentage to Be Paid to Non-priority, General Unsecured Claims Is:    ( )                    ;
    Or (X) Trustee Shall Determine the Percentage to Be Paid after Passage of Final Bar Date.

16. This Plan Assumes or Rejects Executory Contracts:
                                                                   ( ) Assume         ( ) Reject
                                                                   ( ) Assume         ( ) Reject

17. Completion:      Plan shall be completed upon payment of the above, approximately 60 months.

18. Failure to Timely File a Written Objection to Confirmation Shall Be Deemed Acceptance of Plan.

19. Non-standard Provisions:
@6 For the purposes of provision 8, all collateral will be assumed to have exceeded the time limits set forth in the
      hanging paragraph following § 1325(a)(9), unless the debtor is in possession of the original contract

     Any Non-standard Provision Stated Elsewhere Is Void.

20. Certification: This Plan Contains No Non-standard Provisions Except Those Stated in Provision 19.

     /s/ Jimmy E. McElroy TN Bar #011908                      Date     October 10, 2018
     Debtor's Attorney's Signature
                                                                                                                    October 10, 2018


                                                                                                                 910 > April 13, 2016
